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FILED
CLERK, U.S. DISTRICT COURT

Feb 12, 2015

 

 

 

 

CENTRAL DISTRICT OF CALIFORNIA
BY: P M Cc DEPUTY

 

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, ) CASE NO.: 2:00-cr-01220-SVW
)
Plaintiff ) JUDGMENT AND COMMITMENT
) ORDER
vs. )
)
Ronald Daniels, II )
)
Defendant. )
)

 

WHEREAS, on February 9, 2015, came the attorney for the government, Ann Kim and the
defendant appeared in person with appointed counsel, Asal Akhondzadeh; and the Court having held
a preliminary revocation of supervised release hearing on the allegations as set forth in the Petition
on Probation and Supervised Release filed June 11, 2014 and amended on February 4, 2015.

WHEREAS, on February 9, 2015, the defendant having admitted the five allegations on the
Petition on Probation and Supervised Release filed June 11, 2014 , and the government withdrawing
the allegations on Petition on Probation and Supervised Release filed February 4, 2015, the Court
finds that the defendant violated the conditions of the supervised release order imposed on
September 24, 2001.

IT IS ADJUDGED, upon the findings of the Court, supervised release is revoked, vacated,
and set aside. The defendant is committed to the custody of the Bureau of Prisons for a period of

SIX (6) MONTHS.

 
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Upon release from confinement, the defendant is placed on a 12-month term of supervised

release, under the same terms and conditions previously imposed, with the following additional

conditions:

1.

The defendant shall participate in a workforce development program or other similar
program, which includes occupational/career development, including but not limited
to assessment, testing, education, training classes, career guidance, employment
search, and retention services, as directed by the Probation Officer;

The defendant shall submit to a search, at any time, with or without warrant, and by
any law enforcement or probation officer, of the defendant’s person and any
property, house, residence, vehicle, papers, computer, other electronic
communication or data storage devices or media, and effects upon reasonable
suspicion concerning a violation of a condition of supervision or unlawful conduct
of by defendant, or by any probation officer in the lawful discharge of the officer’s

supervision functions.

ITIS ORDERED that the Clerk deliver a copy of this judgment modifying supervised release

to the U.S. Marshal and the U.S. Probation Office, or other qualified officer.

DATE: February 12, 2015

DATE: February 12, 2015

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STEPHEN V. WILSON
UNITED STATES DISTRICT TUDGE

 

TERRY NAFISI, CLERK OF COURT
/s/
Paul M. Cruz, Deputy Clerk

 

 

 
